Case 2:04-cv-02827-BBD-dkv Document 15 Filed 08/01/05 Page 1 of 3 Page|D 20

 

IN THE UNITED sTATEs DISTRICT COURT F*‘ED BY §§ D~C-
FOR THE wEsTERN DIsTRICT 0F TENNEssEE
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BETTY ANN LEWIS, ) C~ERY; L,'§ GST.=F"P'HT COUHT
) Vt'!!..-’ x r»:.‘.\ipHiS
Plaintiff, )
)
vs. ) Case No.: 04-2827 BBD-dkv
)
CIGNA GROUP INsURANCE, )
)
Defendant. )

 

ORDER OF DISMISSAL WITH PREJUI)ICE

 

Upon the consent of the parties as is evidenced by the signatures below and upon the
statement of counsel for the parties that all matters in controversy among the parties have been
compromised and settled, it appears to the Court that this action filed against the defendant

should be dismissed with prejudice

IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that this action is

hereby dismissed, with prejudice, with each party to bear its own costs.

   

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main FP.CP nn

with Rule 58 andfc

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CONSENTED TO AND APPROVED BY:

 

    

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02827 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

